    Case 1:24-cr-00055-DG Document 1 Filed 01/14/24 Page 1 of 3 PageID #: 1




NEM:KM

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                  COMPLAINT

            - against -                                   24-MJ-00030

AKOREDE ANIMASHAUN,                                       (18 U.S.C. § 922(g)(1))
       also known as “Antik,”

                          Defendant.

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EASTERN DISTRICT OF NEW YORK, SS:

               CHRISTOPHER BRUNO, being duly sworn, deposes and states that he is a

Detective with the New York City Police Department (“NYPD”) and a Task Force Officer with

the Federal Bureau of Investigation (“FBI”), duly appointed according to law and acting as such.

               On or about January 11, 2024, within the Eastern District of New York and

elsewhere, the defendant AKOREDE ANIMASHAUN, knowing that he had previously been

convicted in a court of a crime punishable by imprisonment for a term exceeding one year, did

knowingly and intentionally possess in and affecting interstate or foreign commerce a firearm, to

wit: one black Ruger .380 caliber semiautomatic pistol.

               (Title 18, United States Code, Section 922(g)(1))

               The source of your deponent’s information and the grounds for his belief are as

follows:1




       1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
    Case 1:24-cr-00055-DG Document 1 Filed 01/14/24 Page 2 of 3 PageID #: 2

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               1.      I am a Detective with the NYPD and an FBI Task Force Officer. I have

been a member of the NYPD for 17 years and a Task Force Officer for approximately six years.

I have been involved in the investigation of numerous cases involving the recovery of firearms and

ammunition. I am familiar with the facts and circumstances set forth below from my participation

in this investigation; my review of documents, records and reports, including the defendant’s

criminal history record; and reports of other law enforcement officers involved in the investigation.

Unless specifically indicated, all conversations and statements described in this affidavit are

related in sum and substance and in part only.

               2.      On or about January 11, 2024, at approximately 9:40 p.m., NYPD officers

sitting in a parked, unmarked police vehicle near the corner of Harbor Loop and Lockman Avenue

in Staten Island, New York, saw the defendant AKOREDE ANIMASHAUN driving a gray sedan.

The officers recognized ANIMASHAUN from an active NYPD I-Card, dated January 10, 2024,

seeking ANIMASHAUN’s arrest for Strangulation in the Second Degree, in violation of New

York Penal Law Section 121.12. While still in the police vehicle, the officers also performed a

database search of the license plate of the gray sedan, which revealed that the license plate is

registered to ANIMASHAUN.

               3.      The NYPD officers then performed a vehicle stop. When asked to present

identification, ANIMASHAUN provided the officers with a New York State driver’s license

bearing his name. The officers asked ANIMASHAUN to leave the vehicle, at which point he was

placed under arrest.

               4.      During a search incident to arrest, the NYPD officers found a loaded .380

caliber semiautomatic pistol, serial number 37499821, in an inner pocket of ANIMASHAUN’s
    Case 1:24-cr-00055-DG Document 1 Filed 01/14/24 Page 3 of 3 PageID #: 3

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jacket, which ANIMASHAUN was then wearing. A subsequent search of law enforcement

records revealed that the firearm was stolen.

               5.     I have reviewed ANIMASHAUN’s criminal history, which reveals that on

or about March 6, 2018, ANIMASHAUN was convicted, after a guilty plea, of Criminal Sale of a

Controlled Substance, in violation of New York Penal Law Section 220.39(1), a class B felony,

and sentenced on April 11, 2018, to a term of five years’ imprisonment. ANIMASHAUN was

also convicted, after a guilty plea, on July 23, 2015, of Attempted Criminal Sale of a Controlled

Substance, in violation of New York Penal Law Section 220.39(1), a class C felony, and Attempted

Criminal Possession of a Controlled Substance in violation of New York Penal Law Section

220.16(1), a class C felony, and sentenced on November 4, 2015, to a term of one year in prison.

               6.     I have conferred with an interstate nexus expert, a Special Agent with the

Bureau of Alcohol, Tobacco, Firearms and Explosives, who has informed me, in substance and in

part, that the recovered firearm was manufactured outside the state of New York.

               WHEREFORE, your deponent respectfully requests that the defendant AKOREDE

ANIMASHAUN be dealt with according to law.


                                                 /s/ Christopher Bruno
                                                Christopher Bruno
                                                Detective
                                                New York City Police Department

Sworn to before me via telephone on this
12th day of January, 2024


 s/ James R. Cho
____________________________________________
HONORABLE JAMES R. CHO
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
